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                                      ANEXO A

Relación de reclamaciones objeto de la Tricentésima cuadragésima primera objeción global
                                  Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                            Tricentésima Cuadragésima Primera Objeción Global
                                                                   Anexo A: Reclamos a ser desestimados
                            RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                            PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE              RECLAM      MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR              ACIÓN      RECLAMACIÓN
1 ALVAREZ CARRASQUI,          05/24/18   17 BK 03566-LTS / Sistema     43815            Indeterminado* ALVAREZ                     05/24/18   17 BK 03283-LTS / El         37335             Indeterminado*
  MIGUEL A                               de Retiro de los Empleados                                    CARRASQUILLO,                          Estado Libre Asociado de
  HC 01 BOX 11714                        del Gobierno del Estado                                       MIGUEL A.                              Puerto Rico
  CAROLINA, PR 00987                     Libre Asociado de Puerto                                      HC 01 BOX 11714
                                         Rico                                                          CAROLINA, PR 09987

  Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
  hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
2 BARRETO REYES, ANA          06/18/18   17 BK 03566-LTS / Sistema     62005             $ 150,000.00* BARRETO REYES, ANA          06/18/18   17 BK 03283-LTS / El         62162              $ 150,000.00*
  M.                                     de Retiro de los Empleados                                    M.                                     Estado Libre Asociado de
  HC 2 BOX 16588                         del Gobierno del Estado                                       HC 2 BOX 16588                         Puerto Rico
  ARECIBO, PR 00612                      Libre Asociado de Puerto                                      ARECIBO, PR 00612
                                         Rico
  Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
  hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
3 BENITEZ DELGADO,            05/21/18   17 BK 03566-LTS / Sistema     42868            Indeterminado* BENITZ DELGADO, ANA         05/21/18   17 BK 03283-LTS / El         35029             Indeterminado*
  ANA CELIA                              de Retiro de los Empleados                                    CELIA                                  Estado Libre Asociado de
  URB VILLA FONTANA                      del Gobierno del Estado                                       QUINTA DE COUNTRY                      Puerto Rico
  GL-8 VIA 25                            Libre Asociado de Puerto                                      CLUB CALLE C
  CAROLINA, PR 00983                     Rico                                                          CAROLINA, PR 00982

  Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
  hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
4 BERRIOS TORRES,             06/29/18   17 BK 03566-LTS / Sistema     133067           Indeterminado* BERRIOS TORRES,             06/29/18   17 BK 03283-LTS / El         142568            Indeterminado*
  EVETTE                                 de Retiro de los Empleados                                    EVETTE                                 Estado Libre Asociado de
  D-21 C/6 RITA                          del Gobierno del Estado                                       D-21 CALLE RITA                        Puerto Rico
  SANTA ROSA                             Libre Asociado de Puerto                                      SANTA ROSA
  CAGUAS, PR 00725                       Rico                                                          CAGUAS, PR 00725

  Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
  hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
5 BERRIOS VAZQUEZ,            05/24/18   17 BK 03566-LTS / Sistema     20000            Indeterminado* BERRIOS VAZQUEZ,            05/24/18   17 BK 03283-LTS / El         20086             Indeterminado*
  IVETTE                                 de Retiro de los Empleados                                    IVETTE                                 Estado Libre Asociado de
  PO BOX 1539                            del Gobierno del Estado                                       PO BOX 1539                            Puerto Rico
  COROZAL, PR 00783-1539                 Libre Asociado de Puerto                                      COROZAL, PR 00783-1539
                                         Rico
  Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
  hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 1 de 26
                                  Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                            Tricentésima Cuadragésima Primera Objeción Global
                                                                   Anexo A: Reclamos a ser desestimados
                            RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                            FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                            PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE              RECLAM      MONTO DE LA
         NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR              ACIÓN      RECLAMACIÓN
6 BLASINI GALARZA,            06/28/18   17 BK 03566-LTS / Sistema     151099           Indeterminado* BLASINI GALARZA,            06/28/18   17 BK 03283-LTS / El         151769            Indeterminado*
  ENID D.                                de Retiro de los Empleados                                    ENID D                                 Estado Libre Asociado de
  URB SANTA ELENA 2                      del Gobierno del Estado                                       URB SANTA ELENA 2                      Puerto Rico
  A15 CALLE ORQUIDEA                     Libre Asociado de Puerto                                      A15 CALLE ORQUIDEA
  GUAYANILLA, PR 00656-                  Rico                                                          GUAYANILLA, PR 00656-
  1449                                                                                                 1449

  Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
  hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
7 CABEZOTO PEREZ,             05/03/18   17 BK 03566-LTS / Sistema     12035              $ 13,049.50* CABEZUDO PEREZ,             05/03/18   17 BK 03283-LTS / El         11829               $ 13,049.50*
  IVONNE                                 de Retiro de los Empleados                                    IVONNE                                 Estado Libre Asociado de
  HC-02 BOX 12180                        del Gobierno del Estado                                       HC-02 BOX 12180                        Puerto Rico
  GURABO, PR 00778                       Libre Asociado de Puerto                                      GURABO, PR 00778
                                         Rico
  Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
  hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
8 CABRERA TORRES,             05/08/18   17 BK 03566-LTS / Sistema     12310               $ 68,000.00 CABRERA TORRES,             05/08/18   17 BK 03283-LTS / El         12337^              $ 68,000.00*
  SIGNA                                  de Retiro de los Empleados                                    SIGNA MAGALY                           Estado Libre Asociado de
  VILLA PALMERAS                         del Gobierno del Estado                                       VILLAS PALMERAS                        Puerto Rico
  372 CALLE                              Libre Asociado de Puerto                                      372 CALLE
  PROVIDENCIA                            Rico                                                          PROVIDENCIA
  SAN JUAN, PR 00915-2234                                                                              SAN JUAN, PR 00915-2234

  Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
  hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
  ^ Reclamo n°. 12337 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
9 CALDERON ILARRAZA,          05/29/18   17 BK 03566-LTS / Sistema     41791              $ 30,735.45* CALDERON ILARRAZA,          05/29/18   17 BK 03283-LTS / El         36519^              $ 30,735.45*
  CARMEN                                 de Retiro de los Empleados                                    CARMEN                                 Estado Libre Asociado de
  PO BOX 1025                            del Gobierno del Estado                                       CALLE 12 T-24 VILLAS                   Puerto Rico
  RIO GRANDE, PR 00745-                  Libre Asociado de Puerto                                      DE RIO GRANDE
  1025                                   Rico                                                          RIO GRANDE, PR 00745

  Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
  hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
  ^ Reclamo n°. 36519 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente




            * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 2 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
                                                              Exhibit A Page 4 of 27

                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE              RECLAM      MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR              ACIÓN      RECLAMACIÓN
10 CARDONA FLORES, ANA         07/05/18   17 BK 03566-LTS / Sistema     127976           Indeterminado* CARDONA FLORES, ANA         07/05/18   17 BK 03283-LTS / El         112036            Indeterminado*
   A.                                     de Retiro de los Empleados                                    A                                      Estado Libre Asociado de
   URB VENUS GDNS                         del Gobierno del Estado                                       URB VENUS GDNS                         Puerto Rico
   770 CALLE                              Libre Asociado de Puerto                                      770 CALLE
   ANDROMEDA                              Rico                                                          ANDROMEDA
   SAN JUAN, PR 00926-4907                                                                              SAN JUAN, PR 00926

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
11 CARRASQUILLO                05/21/18   17 BK 03566-LTS / Sistema     25738            Indeterminado* CARRASQUILLO                05/21/18   17 BK 03283-LTS / El         42756             Indeterminado*
   AVILES, IVETTE E                       de Retiro de los Empleados                                    AVILES, IVETTE E.                      Estado Libre Asociado de
   HC 1 BOX 11714                         del Gobierno del Estado                                       HC 1 Box 11714                         Puerto Rico
   CAROLINA, PR 00987                     Libre Asociado de Puerto                                      CAROLINA, PR 00987
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
12 CARRASQUILLO                06/06/18   17 BK 03566-LTS / Sistema     165850           Indeterminado* CARRASGUILLO                06/06/18   17 BK 03283-LTS / El         162309            Indeterminado*
   SANTOS, YARITZA                        de Retiro de los Empleados                                    SANTOS, YARITZA                        Estado Libre Asociado de
   HC-66 BOX 10200                        del Gobierno del Estado                                       HC-66 BOX 10200                        Puerto Rico
   FAJARDO, PR 00738                      Libre Asociado de Puerto                                      FAJARDO, PR 00738
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
13 COLON DIAZ, CARMEN          06/06/18   17 BK 03566-LTS / Sistema     56049            Indeterminado* COLON DIAZ, CARMEN          06/06/18   17 BK 03283-LTS / El         49295             Indeterminado*
   Y.                                     de Retiro de los Empleados                                    Y.                                     Estado Libre Asociado de
   URB. VALLE DE                          del Gobierno del Estado                                       URB VALLE DE                           Puerto Rico
   YOBICUO 705 C/JAZMIN                   Libre Asociado de Puerto                                      YABUCOA
   YABUCOA, PR 00767                      Rico                                                          705 C/ JAZMIN
                                                                                                        YABUCOA, PR 00767

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
14 COLON LUCIANO,              05/23/18   17 BK 03566-LTS / Sistema     42287            Indeterminado* COLON LUCIANO,              05/23/18   17 BK 03283-LTS / El         42145             Indeterminado*
   ALICIA                                 de Retiro de los Empleados                                    ALICIA                                 Estado Libre Asociado de
   A-13 CALLE NINFA URB.                  del Gobierno del Estado                                       A-13 CALLE NINFA URB.                  Puerto Rico
   BELLA VISTA                            Libre Asociado de Puerto                                      BELLA VISTA
   PONCE, PR 00716                        Rico                                                          PONCE, PR 00716

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 3 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE              RECLAM      MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR              ACIÓN      RECLAMACIÓN
15 COLON TORRES,               06/29/18   17 BK 03566-LTS / Sistema     127701             $ 45,760.89* COLON TORRES,               06/29/18   17 BK 03283-LTS / El        129809^              $ 45,760.89*
   NEYSHA                                 de Retiro de los Empleados                                    NEYSHA                                 Estado Libre Asociado de
   URB EL COMANDANTE                      del Gobierno del Estado                                       URB EL COMANDANTE                      Puerto Rico
   872 CALLE MARIA                        Libre Asociado de Puerto                                      872 CALLE MARIA
   GIUSTI                                 Rico                                                          GIUSTI
   SAN JUAN, PR 00924                                                                                   SAN JUAN, PR 00924

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 129809 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
16 CORDERO VELEZ,              05/30/18   17 BK 03566-LTS / Sistema     40934            Indeterminado* CORDERO VELEZ,              05/30/18   17 BK 03283-LTS / El         41573^            Indeterminado*
   CLARA M.                               de Retiro de los Empleados                                    CLARA M                                Estado Libre Asociado de
   PO BOX 9281                            del Gobierno del Estado                                       PO BOX 9281                            Puerto Rico
   HUMACAO, PR 00792                      Libre Asociado de Puerto                                      HUMACAO, PR 00791
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 41573 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
17 CORTES GARCIA,              05/08/18   17 BK 03566-LTS / Sistema     12511              $ 68,745.12* GARCIA, NELIDA              05/08/18   17 BK 03283-LTS / El         12503^              $ 68,745.12*
   NELIDA                                 de Retiro de los Empleados                                    CORTES                                 Estado Libre Asociado de
   175 CALLE NUEVA                        del Gobierno del Estado                                       175 CALLE NUEVA COM                    Puerto Rico
   COMUNIDAD ISRAEL                       Libre Asociado de Puerto                                      ISRAEL
   SAN JUAN, PR 00917                     Rico                                                          SAN JUAN, PR 00917

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 12503 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 4 de 26
                                    Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                   Desc:
                                                               Exhibit A Page 6 of 27

                                                               Tricentésima Cuadragésima Primera Objeción Global
                                                                      Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                               RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                      PRESENTA          NÚMERO DE              RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                  NOMBRE                CIÓN           CASO/DEUDOR              ACIÓN       RECLAMACIÓN
18 CORTIJO SANCHEZ,             05/25/18   17 BK 03566-LTS / Sistema     29821             Indeterminado* CORTIJO SANCHEZ,             05/25/18   17 BK 03283-LTS / El         43457^             Indeterminado*
   EDITH                                   de Retiro de los Empleados                                     EDITH                                   Estado Libre Asociado de
   URB COUNTRY CLUB                        del Gobierno del Estado                                        URB COUNTRY CLUB                        Puerto Rico
   QM5 CALLE 246                           Libre Asociado de Puerto                                       QM5 CALLE 246
   CAROLINA, PR 00982-                     Rico                                                           CAROLINA, PR 00982-
   1895                                                                                                   1895

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 43457 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
19 COSME RIVERA, LUIS A         05/23/18   17 BK 03566-LTS / Sistema     13852             Indeterminado* ADSEF / LUIS A COSME         05/23/18   17 BK 03283-LTS / El         19011^             Indeterminado*
   968 CALLE LABRADOR                      de Retiro de los Empleados                                     RIVERA                                  Estado Libre Asociado de
   SAN JUAN, PR 00924                      del Gobierno del Estado                                        968 CALLE LABRADOR                      Puerto Rico
                                           Libre Asociado de Puerto                                       SAN JUAN, PR 00924
                                           Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 19011 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
20 CRUZ ALVAREZ,                06/05/18   17 BK 03566-LTS / Sistema     45697             Indeterminado* CRUZ ALVAREZ,                06/05/18   17 BK 03283-LTS / El          44792             Indeterminado*
   CARMEN D                                de Retiro de los Empleados                                     CARMEN D                                Estado Libre Asociado de
   PARC AMALIA MARIN                       del Gobierno del Estado                                        PARC. AMALIA MARIN                      Puerto Rico
   5647 TAINO                              Libre Asociado de Puerto                                       5647 CALLE TAINO
   PONCE, PR 00716                         Rico                                                           PONCE, PR 00716

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
21 CRUZ CRUZ, GERARDO           09/16/20   19-BK-05523-LTS / El          176029               $ 14,400.00 CRUZ CRUZ, GERARDO           10/13/20   17 BK 03283-LTS / El         177012                $ 14,400.00
   GERARDO CRUZ CRUZ                       Autoridad de Edificios                                         P.O. BOX 37575                          Estado Libre Asociado de
   HC 3 BOX 37575                          Públicos de Puerto Rico                                        CAGUAS, PR 00725                        Puerto Rico
   CAGUAS, PR 00725

   Base para: Reclamo de una obligación duplicada interpuesto contra la Autoridad de Edificios de Puerto Rico (Deudor). Todas las responsabilidades invocadas, si las hubiere, tendrían lugar entre el
   Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                       Página 5 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE              RECLAM      MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR              ACIÓN      RECLAMACIÓN
22 CRUZ LAUREANO,              05/11/18   17 BK 03566-LTS / Sistema     14633            Indeterminado* CRUZ LAUREANO,              05/11/18   17 BK 03283-LTS / El         14347             Indeterminado*
   MARIA A                                de Retiro de los Empleados                                    MARIA A                                Estado Libre Asociado de
   BOX 8653                               del Gobierno del Estado                                       BOX 8653                               Puerto Rico
   CAGUAS, PR 00726                       Libre Asociado de Puerto                                      CAGUAS, PR 00726
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
23 DE JESUS OCASIO,            06/06/18   17 BK 03566-LTS / Sistema     49045            Indeterminado* DE JESUS OCASIO,            06/06/18   17 BK 03283-LTS / El         49089             Indeterminado*
   LIBRADO                                de Retiro de los Empleados                                    LIBRADO                                Estado Libre Asociado de
   APARTADO 1334                          del Gobierno del Estado                                       APARTADO 1334                          Puerto Rico
   CANOVANAS, PR 00729                    Libre Asociado de Puerto                                      CANOVANAS, PR 00729
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
24 DE JESUS RODRIGUEZ,         05/14/18   17 BK 03566-LTS / Sistema     15334            Indeterminado* DE JESUS RODRIGUEZ,         05/14/18   17 BK 03283-LTS / El         15012             Indeterminado*
   JUAN                                   de Retiro de los Empleados                                    JUAN                                   Estado Libre Asociado de
   R.R.8. BOX. 9177 CO.                   del Gobierno del Estado                                       RR8 BOX 9177 BO DAJAO                  Puerto Rico
   DAJAO                                  Libre Asociado de Puerto                                      BAYAMON, PR 00956
   BAYAMON, PR 00956                      Rico

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
25 DIAZ DE JESUS, HECTOR       05/14/18   17 BK 03566-LTS / Sistema     11878            Indeterminado* DIAZ DE JESUS, HECTOR       05/14/18   17 BK 03283-LTS / El         11050^            Indeterminado*
   PARQUE DEL MONTE                       de Retiro de los Empleados                                    CALLE AGUEYBANA                        Estado Libre Asociado de
   CC 16 CALLE                            del Gobierno del Estado                                       CC-16                                  Puerto Rico
   AGUEYBANA                              Libre Asociado de Puerto                                      PARQUE DEL MONTE
   CAGUAS, PR 00727                       Rico                                                          CAGUAS, PR 00725

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 11050 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
26 DIAZ DIAZ, RONNIE R.        06/06/18   17 BK 03566-LTS / Sistema     162306           Indeterminado* DIAZ DIAZ, RONNIE R.        06/06/18   17 BK 03283-LTS / El         48892             Indeterminado*
   HC-66 BOX 10200                        de Retiro de los Empleados                                    HC-66 BOX 10200                        Estado Libre Asociado de
   FAJARDO, PR 00738                      del Gobierno del Estado                                       FAJARDO, PR 00738                      Puerto Rico
                                          Libre Asociado de Puerto
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 6 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE              RECLAM      MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR              ACIÓN      RECLAMACIÓN
27 DIAZ RODRIGUEZ,             06/06/18   17 BK 03566-LTS / Sistema     31720            Indeterminado* DIAZ RODRIGUEZ,             06/06/18   17 BK 03283-LTS / El         31772             Indeterminado*
   GABRIEL                                de Retiro de los Empleados                                    GABRIEL                                Estado Libre Asociado de
   274 URUGUAT ST.                        del Gobierno del Estado                                       274 URUGUAY ST.                        Puerto Rico
   COND TORRE ALTA PH 1                   Libre Asociado de Puerto                                      COND TORRE ALTA PH 1
   SAN JUAN, PR 00917                     Rico                                                          SAN JUAN, PR 00917

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
28 ECHEVARRIA CINTRON,         06/06/18   17 BK 03566-LTS / Sistema     59643            Indeterminado* ECHEVARRIA CINTRON,         06/06/18   17 BK 03283-LTS / El         65661             Indeterminado*
   FRANCIS                                de Retiro de los Empleados                                    FRANCIS                                Estado Libre Asociado de
   BOX 619                                del Gobierno del Estado                                       BOX 619                                Puerto Rico
   FAJARDO, PR 00738                      Libre Asociado de Puerto                                      FAJARDO, PR 00738
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
29 EMMANUELLI                  06/27/18   17 BK 03566-LTS / Sistema     107024           Indeterminado* EMMANUELLI                  06/27/18   17 BK 03283-LTS / El         97916             Indeterminado*
   SANTIAGO, LAURA E.                     de Retiro de los Empleados                                    SANTIAGO, LAURA E                      Estado Libre Asociado de
   196-41 529 VILLA                       del Gobierno del Estado                                       196-41 529 VILLA                       Puerto Rico
   CAROLINA                               Libre Asociado de Puerto                                      CAROLINA
   CAROLINA, PR 00985                     Rico                                                          CAROLINA, PR 00985

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
30 ESTEVES ALVAREZ,            05/08/18   17 BK 03566-LTS / Sistema     12374            Indeterminado* ESTEVEZ ALVAREZ,            05/08/18   17 BK 03283-LTS / El         14403             Indeterminado*
   CARMEN H                               de Retiro de los Empleados                                    CARMEN H                               Estado Libre Asociado de
   URB LOS COLOBOS                        del Gobierno del Estado                                       URB LOS COLOBOS                        Puerto Rico
   108 CALLE ALMENDRO                     Libre Asociado de Puerto                                      PARK
   CAROLINA, PR 00987-                    Rico                                                          108 CALLE ALMENDRO
   8342                                                                                                 CAROLINA, PR 00987

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
31 ESTEVES MASSO, JUAN         06/29/18   17 BK 03566-LTS / Sistema     133181           Indeterminado* ESTEVES MASSO, JUAN         06/29/18   17 BK 03283-LTS / El         163659            Indeterminado*
   A.                                     de Retiro de los Empleados                                    URB VISTA MAR                          Estado Libre Asociado de
   CALLE NAVARRA #1018                    del Gobierno del Estado                                       1018 CALLE NAVARRA                     Puerto Rico
   URB. VISTAMAR                          Libre Asociado de Puerto                                      CAROLINA, PR 00983
   CAROLINA, PR 00983                     Rico

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 7 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                  N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE              RECLAM      MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR              ACIÓN      RECLAMACIÓN
32 FELICIANO                   06/29/18   17 BK 03566-LTS / Sistema     95201              $ 520,817.00 FELICIANO                   06/29/18   17 BK 03283-LTS / El         94389              $ 520,817.00*
   CONCEPCION,                            de Retiro de los Empleados                                    CONCEPCION,                            Estado Libre Asociado de
   BETZAIDA                               del Gobierno del Estado                                       BETZAIDA                               Puerto Rico
   C/O MARVIN DIAZ                        Libre Asociado de Puerto                                      C/O MARVIN DIAZ
   FERRER                                 Rico                                                          FERRER
   COND VICK CENTER                                                                                     COND VICK CENTER
   STE C202                                                                                             STE C202
   867 AVE MUNOZ                                                                                        867 AVE MUNOZ
   RIVERA                                                                                               RIVERA
   SAN JUAN, PR 00925                                                                                   SAN JUAN, PR 00925

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
33 FIGUEROA RODRIGUEZ,         05/17/18   17 BK 03566-LTS / Sistema     18486               $ 39,479.56 FIGUEROA, ANA M             05/17/18   17 BK 03283-LTS / El         16682               $ 39,479.56*
   ANA M                                  de Retiro de los Empleados                                    VILLAS DE LOIZA                        Estado Libre Asociado de
   VILLAS DE LOIZA                        del Gobierno del Estado                                       K12 CALLE 7                            Puerto Rico
   K12 CALLE 7                            Libre Asociado de Puerto                                      CANOVANAS, PR 00729
   CANOVANAS, PR 00729-                   Rico
   4206

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
34 FORESTIER ORTIZ,            06/28/18   17 BK 03566-LTS / Sistema     117660           Indeterminado* FORESTIER ORTIZ,            06/28/18   17 BK 03283-LTS / El         119417            Indeterminado*
   JULIA E.                               de Retiro de los Empleados                                    JULIA E.                               Estado Libre Asociado de
   URB. GUANAJIBO                         del Gobierno del Estado                                       URB. GUANAJIBO                         Puerto Rico
   HOMES 816 G. PALES                     Libre Asociado de Puerto                                      HOMES
   MATOS                                  Rico                                                          816 G. PALES MATOS
   MAYAGUEZ, PR 00682-                                                                                  MAYAGUEZ, PR 00682-
   1162                                                                                                 1162

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
35 GARCIA MARTINEZ,            05/25/18   17 BK 03566-LTS / Sistema     25084            Indeterminado* GARCIA MARTINEZ,            05/25/18   17 BK 03283-LTS / El         33346             Indeterminado*
   HECTOR R                               de Retiro de los Empleados                                    HECTOR R.                              Estado Libre Asociado de
   L-15 CALLE 14                          del Gobierno del Estado                                       L-15 CALLE 14                          Puerto Rico
   CONDADO MODERNO                        Libre Asociado de Puerto                                      CONDADO MODERNO
   CAGUAS, PR 00725                       Rico                                                          CAGUAS, PR 00725

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 8 de 26
                                    Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                   Desc:
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                                                               Tricentésima Cuadragésima Primera Objeción Global
                                                                      Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                               RECLAMACIÓN REMANENTE

                             FECHA DE                                    N.º DE                                                      FECHA DE                                  N.º DE
                             PRESENTA           NÚMERO DE               RECLAM      MONTO DE LA                                      PRESENTA          NÚMERO DE              RECLAM       MONTO DE LA
          NOMBRE               CIÓN            CASO/DEUDOR               ACIÓN      RECLAMACIÓN                  NOMBRE                CIÓN           CASO/DEUDOR              ACIÓN       RECLAMACIÓN
36 GERMAN TORRES                06/04/20   19-BK-05523-LTS / El          174089                $ 3,900.00 GERMAN TORRES                06/07/18   17 BK 03283-LTS / El          48747                $ 15,178.00
   BERRIOS D/B/A                           Autoridad de Edificios                                         BERRIOS &                               Estado Libre Asociado de
   GERMAN TORRES                           Públicos de Puerto Rico                                        ASSOCIADOS                              Puerto Rico
   BERRIOS & ASSOC.                                                                                       HC 04 BOX 5775
   HC-4 BOX 5775                                                                                          BARRANQUITAS, PR
   BARRANQUITAS, PR                                                                                       00794-9609
   00794-9800

   Base para: Reclamo de una obligación duplicada interpuesto contra la Autoridad de Edificios de Puerto Rico (Deudor). Todas las responsabilidades invocadas, si las hubiere, tendrían lugar entre el
   Reclamante y el Estado Libre Asociado de Puerto Rico.
37 GONZALEZ BENITEZ,            05/31/18   17 BK 03566-LTS / Sistema     47287                $ 48,000.00 GONZALEZ BENITEZ,            05/31/18   17 BK 03283-LTS / El         90365^               $ 48,000.00*
   ROSA M.                                 de Retiro de los Empleados                                     ROSA M                                  Estado Libre Asociado de
   T-706 CALLE                             del Gobierno del Estado                                        T 706 CALLE                             Puerto Rico
   PASIONARIA                              Libre Asociado de Puerto                                       PASIONARIA
   URB. LOIZA VALLEY                       Rico                                                           CANOVANAS, PR 00729
   CONDUANAS, PR 00729

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 90365 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
38 GONZALEZ LEON,               05/08/18   17 BK 03566-LTS / Sistema     12526               $ 59,313.00* GONZALEZ DE LEON,            05/08/18   17 BK 03283-LTS / El         12312^               $ 59,313.00*
   IVETTE                                  de Retiro de los Empleados                                     IVETTE                                  Estado Libre Asociado de
   372 PELLIN RODRIGUEZ                    del Gobierno del Estado                                        372 PELLIN RODRIGUEZ                    Puerto Rico
   VILLA PALMERA                           Libre Asociado de Puerto                                       VILLAS PALOMERAS
   SANTURCE, PR 00915                      Rico                                                           SANTURCE, PR 00915

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 12312 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
39 GONZALEZ VIVALDI,            07/21/18   17 BK 03566-LTS / Sistema     68525                $ 20,000.00 GONZALEZ VIVALDI,            07/21/18   17 BK 03283-LTS / El          68524               $ 20,000.00*
   MIGDALIA R.                             de Retiro de los Empleados                                     MIGDALIA R                              Estado Libre Asociado de
   209 CALLE MANUEL F                      del Gobierno del Estado                                        209 CALLE MANUEL F                      Puerto Rico
   ROSSY                                   Libre Asociado de Puerto                                       ROSSY
   SAN JUAN, PR 00918                      Rico                                                           SAN JUAN, PR 00918

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                       Página 9 de 26
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                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
40 GUTIERREZ MATOS,            05/25/18   17 BK 03566-LTS / Sistema     21710            Indeterminado* GUTIÉRREZ MATOS,            05/25/18   17 BK 03283-LTS / El          18098^           Indeterminado*
   YASMIN                                 de Retiro de los Empleados                                    YASMIN                                 Estado Libre Asociado de
   PDA 20                                 del Gobierno del Estado                                       CALLE MORALES                          Puerto Rico
   85A CALLE MORALES                      Libre Asociado de Puerto                                      #85 - A PDA. 20
   SAN JUAN, PR 00909                     Rico                                                          SANTURCE, PR 00909

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 18098 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
41 HEREDIA CRUZ, MARIA         05/25/18   17 BK 03566-LTS / Sistema     31834            Indeterminado* HEREDIA CRUZ, MARIA         05/25/18   17 BK 03283-LTS / El          30335            Indeterminado*
   RR 7 BOX 6956                          de Retiro de los Empleados                                    M                                      Estado Libre Asociado de
   SAN JUAN, PR 00926-9109                del Gobierno del Estado                                       RR 7 BOX 6956                          Puerto Rico
                                          Libre Asociado de Puerto                                      SAN JUAN, PR 00926
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
42 HERNANDEZ DUPREY,           05/25/18   17 BK 03566-LTS / Sistema     27402            Indeterminado* HERNANDEZ DUPREY,           05/25/18   17 BK 03283-LTS / El          27687            Indeterminado*
   ALEX                                   de Retiro de los Empleados                                    ALEX                                   Estado Libre Asociado de
   PO BOX 919                             del Gobierno del Estado                                       P.O BOX 919                            Puerto Rico
   PATILLAS, PR 00723                     Libre Asociado de Puerto                                      PATILLAS, PR 00723
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
43 HERNANDEZ ROSARIO,          04/02/18   17 BK 03566-LTS / Sistema      3339            Indeterminado* HERNANDEZ ROSARIO,          04/02/18   17 BK 03283-LTS / El           5938            Indeterminado*
   NORTON                                 de Retiro de los Empleados                                    NORTON                                 Estado Libre Asociado de
   HC 01 BOX 4997                         del Gobierno del Estado                                       HC 01 BOX 4997                         Puerto Rico
   AIBONITO, PR 00705                     Libre Asociado de Puerto                                      AIBONITO, PR 00705
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 10 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
44 HERNANDEZ RUIZ,             05/25/18   17 BK 03566-LTS / Sistema     22973            Indeterminado* HERNANDEZ RUIZ,             05/25/18   17 BK 03283-LTS / El          23075            Indeterminado*
   JOHNNY                                 de Retiro de los Empleados                                    JOHNNY                                 Estado Libre Asociado de
   URB. JARDINES DE                       del Gobierno del Estado                                       URB. JARDINES DE                       Puerto Rico
   SASLINAS A-20                          Libre Asociado de Puerto                                      SALINAS A-20
   CALLE ROLANDO CRUZ                     Rico                                                          CALLE ROLANDO CRUZ
   QUIÑONEZ                                                                                             QUINONEZ
   SALINAS, PR 00751                                                                                    SALINAS, PR 00751

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
45 LABOY RIVERA, IRAIDA        03/15/18   17 BK 03566-LTS / Sistema      2049            Indeterminado* LABOY RIVERA, IRAIDA        03/20/18   17 BK 03283-LTS / El           4020            Indeterminado*
   URBANIZACION                           de Retiro de los Empleados                                    PO BOX 218                             Estado Libre Asociado de
   MENDEZ                                 del Gobierno del Estado                                       YABUCOA, PR 00767-                     Puerto Rico
   P. O. BOX 218                          Libre Asociado de Puerto                                      0218
   YABUCOA, PR 00767                      Rico

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
46 LIMA COLON, MIRIAM          06/29/18   17 BK 03566-LTS / Sistema     92772              $ 635,868.58 LIMA COLON, MIRIAM          06/29/18   17 BK 03283-LTS / El          84695             $ 635,868.58*
   C/O MARVIN DIAZ                        de Retiro de los Empleados                                    C/O MARVIN DIAZ                        Estado Libre Asociado de
   FERRER                                 del Gobierno del Estado                                       FERRER                                 Puerto Rico
   COND VICK CENTER                       Libre Asociado de Puerto                                      COND. VICK CENTER
   STE C202                               Rico                                                          STE.C-202
   867 AVE MUNOZ                                                                                        867 AVE MUNOZ
   RIVERA                                                                                               RIVERA
   SAN JUAN, PR 00925                                                                                   SAN JUAN, PR 00925

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
47 LIMERY DONES,               05/23/18   17 BK 03566-LTS / Sistema     19459            Indeterminado* LIMERY DONES,               05/23/18   17 BK 03283-LTS / El          15110^           Indeterminado*
   MARITZA                                de Retiro de los Empleados                                    MARITZA                                Estado Libre Asociado de
   HB-13 CALLE ELIZA                      del Gobierno del Estado                                       HB-13 CALLE ELIZA                      Puerto Rico
   TABAREZ                                Libre Asociado de Puerto                                      TABAREZ
   7MA SECCION,                           Rico                                                          7MA SECCION,
   LEVITTOWN                                                                                            LEVITTOWN
   TOA BAJA, PR 00949                                                                                   TOA BAJA, PR 00949

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 15110 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 11 de 26
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                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
48 LOPEZ COLLAZO,              07/03/18   17 BK 03566-LTS / Sistema     138264           Indeterminado* LOPEZ COLLAZO,              04/25/18   17 BK 03283-LTS / El           8608            Indeterminado*
   REYNALDO                               de Retiro de los Empleados                                    REYNALDO                               Estado Libre Asociado de
   PO BOX 539                             del Gobierno del Estado                                       APTDO.539 BO. RINCON                   Puerto Rico
   CIDRA, PR 00739                        Libre Asociado de Puerto                                      SECTOR CANDELA
                                          Rico                                                          CIDRA, PR 00739

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
49 LOPEZ TORRES, JAMMY         05/11/18   17 BK 03566-LTS / Sistema     13665            Indeterminado* LOPEZ TORRES, JAMMY         05/11/18   17 BK 03283-LTS / El          14422            Indeterminado*
   3U-37 41 ALTORAS DE                    de Retiro de los Empleados                                    3U-37 41 ALTORAS DE                    Estado Libre Asociado de
   BUCARABONES                            del Gobierno del Estado                                       BUCARABONES                            Puerto Rico
   TOA ALTA, PR 00953                     Libre Asociado de Puerto                                      TOA ALTA, PR 00953
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
50 LOPEZ VALENTIN ,            06/28/18   17 BK 03566-LTS / Sistema     66474            Indeterminado* LOPEZ VALENTIN,             06/28/18   17 BK 03283-LTS / El          66138            Indeterminado*
   CARIDAD                                de Retiro de los Empleados                                    CARIDAD                                Estado Libre Asociado de
   HC-01 BOX 3807 CALLE                   del Gobierno del Estado                                       HC-01 BOX 3807                         Puerto Rico
   JONES                                  Libre Asociado de Puerto                                      CALLEJONES
   LARES, PR 00669                        Rico                                                          LARES, PR 00669

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
51 LUGO ORTIZ, WANDA I         05/29/18   17 BK 03566-LTS / Sistema     25146            Indeterminado* LUGO ORTIZ, WANDA I.        05/29/18   17 BK 03283-LTS / El          26526            Indeterminado*
   URB FLAMBOYANES                        de Retiro de los Empleados                                    VILLAS DEL LAUREL II                   Estado Libre Asociado de
   1622 CALLE LILAS                       del Gobierno del Estado                                       1412 BOULEVARD                         Puerto Rico
   PONCE, PR 00716                        Libre Asociado de Puerto                                      COTO LAUREL, PR 00780
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
52 MANGUAL FLORES,             05/22/18   17 BK 03566-LTS / Sistema     29762            Indeterminado* MANGUAL FLORES,             05/22/18   17 BK 03283-LTS / El          18462            Indeterminado*
   NILDA                                  de Retiro de los Empleados                                    NILDA                                  Estado Libre Asociado de
   CALLE 1 I13 ESTANCIAS                  del Gobierno del Estado                                       CALLE I13 ESTANCIAS                    Puerto Rico
   SAN FDO.                               Libre Asociado de Puerto                                      SAN FDO.
   CAROLINA, PR 00985                     Rico                                                          CAROLINA, PR 00985

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 12 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
53 MARCIAL MATTEI,             05/29/18   17 BK 03566-LTS / Sistema     46919            Indeterminado* MARCIAL MATTEI,             05/29/18   17 BK 03283-LTS / El          35154            Indeterminado*
   REINALDO                               de Retiro de los Empleados                                    REINALDO                               Estado Libre Asociado de
   #25 BRANDEN                            del Gobierno del Estado                                       CALLE BRANDON #25                      Puerto Rico
   ENSENADA, PR 00647                     Libre Asociado de Puerto                                      ENSENADA, PR 00647
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
54 MARTINEZ COLLAZO,           06/13/18   17 BK 03566-LTS / Sistema     64864            Indeterminado* MARTINEZ COLLAZO,           06/13/18   17 BK 03283-LTS / El          59591            Indeterminado*
   ANGELA                                 de Retiro de los Empleados                                    ANGELA                                 Estado Libre Asociado de
   PO BOX 3056                            del Gobierno del Estado                                       P.O. BOX 3056                          Puerto Rico
   JUNCOS, PR 00777                       Libre Asociado de Puerto                                      JUNCOS, PR 00777
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
55 MARTINEZ LEON, JOSE         05/02/18   17 BK 03566-LTS / Sistema     10029            Indeterminado* MARTINEZ LEON, JOSE         03/31/20   17 BK 03283-LTS / El          173698           Indeterminado*
   R                                      de Retiro de los Empleados                                    R                                      Estado Libre Asociado de
   PO BOX 835                             del Gobierno del Estado                                       PO BOX 835                             Puerto Rico
   GUAYAMA, PR 00785-                     Libre Asociado de Puerto                                      GUAYAMA, PR 00785-
   0835                                   Rico                                                          0835

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
56 MARTINEZ UMPIERRE,          05/29/18   17 BK 03566-LTS / Sistema     38837            Indeterminado* MARTINEZ UMPIERRE,          05/29/18   17 BK 03283-LTS / El          37930            Indeterminado*
   MARIA                                  de Retiro de los Empleados                                    MARIA DEL CARMEN                       Estado Libre Asociado de
   URB SANTA CLARA                        del Gobierno del Estado                                       URB. SANTA CLARA                       Puerto Rico
   21 CALLE 2                             Libre Asociado de Puerto                                      CALLE 2 #21
   SAN LORENZO, PR 00754                  Rico                                                          SAN LORENZO, PR 00154
   -3211

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 13 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
57 MATOS COLON, ELVIRA         07/05/18   17 BK 03566-LTS / Sistema     161949           Indeterminado* MATOS COLON, ELVIRA         07/05/18   17 BK 03283-LTS / El         144479^           Indeterminado*
   ROUND HILLS                            de Retiro de los Empleados                                    URB ROUND HLS                          Estado Libre Asociado de
   668 CALLE VIOLETA                      del Gobierno del Estado                                       668 CALLE VIOLETA                      Puerto Rico
   URB ROUND HLS                          Libre Asociado de Puerto                                      TRUJILLO ALTO, PR
   TRUJILLO ALTO, PR                      Rico                                                          00976-2715
   00976

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 144479 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
58 MEDINA DE REYES,            05/08/18   17 BK 03566-LTS / Sistema     12509               $ 38,389.11 MEDINA DE REYES,            05/08/18   17 BK 03283-LTS / El          12345^             $ 38,389.11*
   NITZA                                  de Retiro de los Empleados                                    NITZA                                  Estado Libre Asociado de
   PO BOX 781                             del Gobierno del Estado                                       PO BOX 781                             Puerto Rico
   RIO GRANDE, PR 00745-                  Libre Asociado de Puerto                                      RIO GRANDE, PR 00745
   0781                                   Rico

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 12345 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
59 MELENDEZ OTERO ,            07/02/18   17 BK 03566-LTS / Sistema     135723           Indeterminado* MELENDEZ OTERO,             07/02/18   17 BK 03283-LTS / El          142461           Indeterminado*
   IDALIS                                 de Retiro de los Empleados                                    IDALIS                                 Estado Libre Asociado de
   PO BOX 1082                            del Gobierno del Estado                                       P.O. BOX 1082                          Puerto Rico
   OROCOVIS, PR 00720                     Libre Asociado de Puerto                                      OROCOVIS, PR 00720
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
60 MENDEZ MORALES,             06/05/18   17 BK 03566-LTS / Sistema     74076            Indeterminado* MENDEZ MORALES,             06/05/18   17 BK 03283-LTS / El          59704            Indeterminado*
   CARLOS                                 de Retiro de los Empleados                                    CARLOS                                 Estado Libre Asociado de
   HC-09 BOX 5253                         del Gobierno del Estado                                       HC-09 BOX 5253                         Puerto Rico
   SABANA GRANDE, PR                      Libre Asociado de Puerto                                      SABANA GRANDE, PR
   00637                                  Rico                                                          00637

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 14 de 26
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                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
61 MERCADO DIAZ,               06/28/18   17 BK 03566-LTS / Sistema     114988           Indeterminado* MERCADO DIAZ,               06/28/18   17 BK 03283-LTS / El          138808           Indeterminado*
   ISUANNE HE                             de Retiro de los Empleados                                    ISUANNETTE                             Estado Libre Asociado de
   PO BOX 8112                            del Gobierno del Estado                                       PO BOX 8112                            Puerto Rico
   PONCE, PR 00732                        Libre Asociado de Puerto                                      PONCE, PR 00732
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
62 NAZARIO RIVERA,             05/11/18   17 BK 03566-LTS / Sistema     22854            Indeterminado* NAZARIO RIVERA,             05/11/18   17 BK 03283-LTS / El          18227            Indeterminado*
   EILEEN                                 de Retiro de los Empleados                                    EILEEN                                 Estado Libre Asociado de
   PO BOX 797                             del Gobierno del Estado                                       PO BOX 797                             Puerto Rico
   PATILLAS, PR 00723                     Libre Asociado de Puerto                                      PATILLES, PR 00723
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
63 NEGRON COLLAZO,             05/29/18   17 BK 03566-LTS / Sistema     43640            Indeterminado* NEGRON COLLAZO,             05/29/18   17 BK 03283-LTS / El          40691            Indeterminado*
   ANA M.                                 de Retiro de los Empleados                                    ANA M                                  Estado Libre Asociado de
   B 11 URB TIERRA                        del Gobierno del Estado                                       URB. TIERRA SANTA                      Puerto Rico
   SANTA                                  Libre Asociado de Puerto                                      C/ B #11
   VILLALBA, PR 00766                     Rico                                                          VILLALBA, PR 00766-
                                                                                                        2326

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
64 ORTIZ DAVILA, IRIS A.       06/06/18   17 BK 03566-LTS / Sistema     54352            Indeterminado* ORTIZ DAVILA, IRIS A        06/06/18   17 BK 03283-LTS / El          49302            Indeterminado*
   PO BOX 146                             de Retiro de los Empleados                                    P O BOX 146                            Estado Libre Asociado de
   LOIZA, PR 00772                        del Gobierno del Estado                                       LOIZA, PR 00772                        Puerto Rico
                                          Libre Asociado de Puerto
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
65 ORTIZ DIAZ, AWILDA          05/25/18   17 BK 03566-LTS / Sistema     37246            Indeterminado* ORTIZ DIAZ, AWILDA          05/25/18   17 BK 03283-LTS / El          26745^           Indeterminado*
   525 CARR 8860 APT 2473                 de Retiro de los Empleados                                    525 CARR. 8860, APT.                   Estado Libre Asociado de
   TRUJILLO ALTO, PR                      del Gobierno del Estado                                       2473                                   Puerto Rico
   00976                                  Libre Asociado de Puerto                                      TRUJILLO ALTO, PR
                                          Rico                                                          00976

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 26745 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 15 de 26
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                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
66 ORTIZ MALDONADO,            05/10/18   17 BK 03566-LTS / Sistema     13660            Indeterminado* ORTIZ-MALDONADO,            05/10/18   17 BK 03283-LTS / El          14141            Indeterminado*
   HILDA                                  de Retiro de los Empleados                                    HILDA                                  Estado Libre Asociado de
   URB MIRAFLORES                         del Gobierno del Estado                                       URB MIRAFLORES 29-7                    Puerto Rico
   BLOQ 29-7 CALLE 38                     Libre Asociado de Puerto                                      CALLE 38
   BAYAMON, PR 00957                      Rico                                                          BAYAMON, PR 00957

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
67 OSORIO GUZMAN, LUIS         06/05/18   17 BK 03566-LTS / Sistema     73427            Indeterminado* OSORIO GUZMAN, LUIS         06/05/18   17 BK 03283-LTS / El          66216            Indeterminado*
   D.                                     de Retiro de los Empleados                                    D.                                     Estado Libre Asociado de
   PO BOX 358                             del Gobierno del Estado                                       P.O. BOX 358                           Puerto Rico
   CEIBA, PR 00735                        Libre Asociado de Puerto                                      CEIBA, PR 00735
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
68 OTRAY LOPEZ, SHARON         05/21/18   17 BK 03566-LTS / Sistema     41100               $ 43,622.97 OFRAY LOPEZ, SHARON         05/21/18   17 BK 03283-LTS / El          35498               $ 43,622.97
   J.                                     de Retiro de los Empleados                                    J.                                     Estado Libre Asociado de
   945 C/RIO PIEDRAS                      del Gobierno del Estado                                       945 C/ROP PEDRAS                       Puerto Rico
   URB MONTESORA I                        Libre Asociado de Puerto                                      MONTESONA
   AGUIRRE, PR 00704                      Rico                                                          AGUIRRE, PR 00704

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
69 PELUYERA ROSA,              05/23/18   17 BK 03566-LTS / Sistema     18387            Indeterminado* PELUYERA ROSA,              05/23/18   17 BK 03283-LTS / El          15086^           Indeterminado*
   CARMEN L.                              de Retiro de los Empleados                                    CARMEN L                               Estado Libre Asociado de
   HC 1 BOX 24553                         del Gobierno del Estado                                       HC 1 BOX 24553                         Puerto Rico
   CAGUAS, PR 00725                       Libre Asociado de Puerto                                      CAGUAS, PR 00725
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 15086 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 16 de 26
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                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
70 PEREZ RESTO, MARIA          07/06/18   17 BK 03566-LTS / Sistema     135318             $ 119,388.08 PEREZ RESTO, MARIA          07/06/18   17 BK 03283-LTS / El          91895              $ 119,388.08
   NITZA                                  de Retiro de los Empleados                                    NITZA                                  Estado Libre Asociado de
   URB. VILLA CAROLINA                    del Gobierno del Estado                                       URB. VILLA CAROLINA                    Puerto Rico
   235-11 C/615                           Libre Asociado de Puerto                                      235-11
   CAROLINA, PR 00985-                    Rico                                                          CALLE 615
   2228                                                                                                 CAROLINA, PR 00985-
                                                                                                        2228

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
71 QUINONES MEDINA,            06/06/18   17 BK 03566-LTS / Sistema     49223            Indeterminado* QUINONES MEDINA,            06/06/18   17 BK 03283-LTS / El          58045            Indeterminado*
   CARMEN                                 de Retiro de los Empleados                                    CARMEN                                 Estado Libre Asociado de
   AE-1 20 VILLAS DE                      del Gobierno del Estado                                       VILLA DE LOIZA                         Puerto Rico
   LOIZA                                  Libre Asociado de Puerto                                      AE1 CALLE 29
   CANOVANAS, PR 00729                    Rico                                                          CANOVANAS, PR 00729

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
72 QUITL MORALES,              06/26/18   17 BK 03566-LTS / Sistema     95161            Indeterminado* QUITT MORALES,              06/26/18   17 BK 03283-LTS / El          93453            Indeterminado*
   VERONICA                               de Retiro de los Empleados                                    VERONICA                               Estado Libre Asociado de
   HC 23 BOX 6430                         del Gobierno del Estado                                       HC 23 BOX 6430                         Puerto Rico
   JUNCOS, PR 00777                       Libre Asociado de Puerto                                      JUNCOS, PR 00777
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
73 RAMIREZ OLIVERIA,           07/03/18   17 BK 03566-LTS / Sistema     154019              $ 6,000.00* RAMIREZ OLIVERCIA,          06/28/18   17 BK 03283-LTS / El          116723              $ 6,000.00*
   HAYDEE                                 de Retiro de los Empleados                                    HAYDEE                                 Estado Libre Asociado de
   PO BOX 423                             del Gobierno del Estado                                       P.O. BOX 423                           Puerto Rico
   ANASCO, PR 00610                       Libre Asociado de Puerto                                      ANASCO, PR 00610
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
74 RAMIREZ ROLDAN,             06/12/18   17 BK 03566-LTS / Sistema     63748            Indeterminado* RAMIREZ ROLDAN,             06/12/18   17 BK 03283-LTS / El          78577            Indeterminado*
   MARIA                                  de Retiro de los Empleados                                    MARIA                                  Estado Libre Asociado de
   PO BOX 58                              del Gobierno del Estado                                       PO BOX 58                              Puerto Rico
   GURABO, PR 00778                       Libre Asociado de Puerto                                      GURABO, PR 00778-0058
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 17 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
75 RAMOS VEGA, MARISOL         05/25/18   17 BK 03566-LTS / Sistema     32040              $ 64,068.00* RAMOS VEGA, MARISOL         05/25/18   17 BK 03283-LTS / El          26439^             $ 64,068.00*
   URB BUENOVENTURA                       de Retiro de los Empleados                                    JUAN E. SERRANO                        Estado Libre Asociado de
   1321 CALLE GERANIO                     del Gobierno del Estado                                       SANTIAGO                               Puerto Rico
   MAYAGUEZ, PR 00686-                    Libre Asociado de Puerto                                      1321 CALLE GERANIO
   1282                                   Rico                                                          URB. BUENAVENTURA
                                                                                                        PO BOX 70199
                                                                                                        MAYAGUEZ, PR 00682-
                                                                                                        1282

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 26439 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
76 REYES SANTIAGO,             05/10/18   17 BK 03566-LTS / Sistema     14704            Indeterminado* REYES-SANTIAGO,             05/10/18   17 BK 03283-LTS / El          13689            Indeterminado*
   MIGUEL A                               de Retiro de los Empleados                                    MIGUEL A                               Estado Libre Asociado de
   URB MIRAFLORES                         del Gobierno del Estado                                       URB. MIRA FLORES 29-7                  Puerto Rico
   C-38 BLOQ 29 NUM 7                     Libre Asociado de Puerto                                      CALLE 38
   BAYAMON, PR 00957                      Rico                                                          BAYAMON, PR 00957

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
77 REYES SANTIAGO,             05/25/18   17 BK 03566-LTS / Sistema     25025            Indeterminado* REYES SANTIAGO,             05/25/18   17 BK 03283-LTS / El          29819            Indeterminado*
   NELSON A                               de Retiro de los Empleados                                    NELSON A                               Estado Libre Asociado de
   BO COCO VIEJO                          del Gobierno del Estado                                       133 E PALES MATOS                      Puerto Rico
   133 E CALLE PALES                      Libre Asociado de Puerto                                      COCO VIEJO
   MATOS                                  Rico                                                          SALINAS, PR 00751
   SALINAS, PR 00751

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
78 RIVERA DOMINGUEZ,           05/22/18   17 BK 03566-LTS / Sistema     32231            Indeterminado* RIVERA DOMINGUEZ,           05/22/18   17 BK 03283-LTS / El          31275            Indeterminado*
   ELIZABETH                              de Retiro de los Empleados                                    ELIZABETH                              Estado Libre Asociado de
   BRISAS DE LOIZA                        del Gobierno del Estado                                       BRISAS DE LOIZA                        Puerto Rico
   225 CALLE LIBRA                        Libre Asociado de Puerto                                      225 CALLE LIBRA
   CANOVANAS, PR 00729-                   Rico                                                          CANOVANAS, PR 00729-
   2987                                                                                                 2987

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 18 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
79 RIVERA ENCARNACION,         05/23/18   17 BK 03566-LTS / Sistema     19439            Indeterminado* RIVERA ENCARNACION,         05/24/18   17 BK 03283-LTS / El          20306^           Indeterminado*
   MADELINE                               de Retiro de los Empleados                                    MADELINE                               Estado Libre Asociado de
   PO BOX 20135                           del Gobierno del Estado                                       PO BOX 20135                           Puerto Rico
   SAN JUAN, PR 00928-0135                Libre Asociado de Puerto                                      SAN JUAN, PR 00928-0135
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 20306 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
80 RIVERA RODRIGUEZ,           05/08/18   17 BK 03566-LTS / Sistema     13675              $ 39,000.00* RIVERA RODRIGUEZ,           05/08/18   17 BK 03283-LTS / El          12341              $ 39,000.00*
   NAYDA                                  de Retiro de los Empleados                                    NAYDA L.                               Estado Libre Asociado de
   URB VISTAMAR                           del Gobierno del Estado                                       CATALUNA 162                           Puerto Rico
   162 CALLE CATALUNA                     Libre Asociado de Puerto                                      VISTAMAR
   CAROLINA, PR 00983-                    Rico                                                          CAROLINA, PR 00983
   1843

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
81 RIVERA TORRES, JOSE I.      05/29/18   17 BK 03566-LTS / Sistema     45585            Indeterminado* RIVERA TORRES, JOSE I       05/29/18   17 BK 03283-LTS / El          43761            Indeterminado*
   B-11 URB. TIERRA                       de Retiro de los Empleados                                    URB. TIERRA SANTA                      Estado Libre Asociado de
   SANTA                                  del Gobierno del Estado                                       CALLE B NUM. 11                        Puerto Rico
   VILLALBA, PR 00766                     Libre Asociado de Puerto                                      VILLALBA, PR 00766
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
82 RIVERA VELAZQUEZ,           06/05/18   17 BK 03566-LTS / Sistema     48391            Indeterminado* RIVERA VELAZQUEZ,           06/05/18   17 BK 03283-LTS / El          56103            Indeterminado*
   WANDA I                                de Retiro de los Empleados                                    WANDA I                                Estado Libre Asociado de
   URB. VILLA SERENA -                    del Gobierno del Estado                                       URB. VILLA SERENA -                    Puerto Rico
   BUZON 76                               Libre Asociado de Puerto                                      BUZON 76
   SANTA ISABEL, PR 00757                 Rico                                                          SANTA ISABEL, PR 00757

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 19 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
83 RIVERA, ZULMA               05/22/18   17 BK 03566-LTS / Sistema     29313            Indeterminado* LANDRAU RIVERA,             05/22/18   17 BK 03283-LTS / El          23761            Indeterminado*
   LANDRAU                                de Retiro de los Empleados                                    ZULMA                                  Estado Libre Asociado de
   RR 1 BOX 35                            del Gobierno del Estado                                       R.R. 1 BOX 35                          Puerto Rico
   CAROLINA, PR 00983                     Libre Asociado de Puerto                                      CAROLINA, PR 00983
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
84 RODRIGUEZ GONZALEZ,         05/24/18   17 BK 03566-LTS / Sistema     18897            Indeterminado* RODRIGUEZ GONZALEZ,         05/24/18   17 BK 03283-LTS / El          19945            Indeterminado*
   TANYA                                  de Retiro de los Empleados                                    TANYA                                  Estado Libre Asociado de
   P.O. BOX 13871                         del Gobierno del Estado                                       PO BOX 13871                           Puerto Rico
   SAN JUAN, PR 00908-3871                Libre Asociado de Puerto                                      SAN JUAN, PR 00908-3871
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
85 RODRIGUEZ                   06/13/18   17 BK 03566-LTS / Sistema     60053            Indeterminado* RODRIGUEZ                   06/13/18   17 BK 03283-LTS / El          56020            Indeterminado*
   HERNANDEZ, ROBERTO                     de Retiro de los Empleados                                    HERNANDEZ, ROBERTO                     Estado Libre Asociado de
   CALLE 60 2I 20 URB                     del Gobierno del Estado                                       CALLE 60 2I 20 URB                     Puerto Rico
   METROPOLIS                             Libre Asociado de Puerto                                      METROPOLIS
   CAROLINA, PR 00987                     Rico                                                          CAROLINA, PR 00987

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
86 RODRIGUEZ LOPEZ,            05/22/18   17 BK 03566-LTS / Sistema     24589               $ 48,821.92 RODRIGUEZ LOPEZ,            05/22/18   17 BK 03283-LTS / El          28152^              $ 48,821.92
   RAQUEL                                 de Retiro de los Empleados                                    RAQUEL                                 Estado Libre Asociado de
   PO BOX 7307                            del Gobierno del Estado                                       PO BOX 7307                            Puerto Rico
   CAROLINA, PR 00986-                    Libre Asociado de Puerto                                      CAROLINA, PR 00986-
   7307                                   Rico                                                          7307

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 28152 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
87 RODRIGUEZ                   05/25/18   17 BK 03566-LTS / Sistema     24512            Indeterminado* RODRIGUEZ                   05/25/18   17 BK 03283-LTS / El          45793            Indeterminado*
   RODRIGUEZ, CARLOS R                    de Retiro de los Empleados                                    RODRIGUEZ, CARLOS R                    Estado Libre Asociado de
   CALLE 3 #56 URB. SAN                   del Gobierno del Estado                                       CALLE 3 5-6 URB. SAN                   Puerto Rico
   MARTIN                                 Libre Asociado de Puerto                                      MARTIN
   PATILLAS, PR 00723                     Rico                                                          PATILLAS, PR 00723

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 20 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                             Tricentésima Cuadragésima Primera Objeción Global
                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
88 RODRIGUEZ VELEZ,            05/24/18   17 BK 03566-LTS / Sistema     29549               $ 4,748.79* RODRIGUEZ VELEZ ,           05/24/18   17 BK 03283-LTS / El          26315               $ 4,748.79*
   RICARDO I                              de Retiro de los Empleados                                    RICARDO I                              Estado Libre Asociado de
   HC23 BOX 67150                         del Gobierno del Estado                                       HC 23 BOX 67150                        Puerto Rico
   JUNCOS, PR 00777                       Libre Asociado de Puerto                                      JUNCOS, PR 00777
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
89 RODRIGUEZ, HILDELISA        06/27/18   17 BK 03566-LTS / Sistema     104400           Indeterminado* RODRIGUEZ, HILDELISA        06/27/18   17 BK 03283-LTS / El          121907           Indeterminado*
   HC 01 BUZON 8645                       de Retiro de los Empleados                                    HC 1 BZN 8645                          Estado Libre Asociado de
   LUQUILLO, PR 00773                     del Gobierno del Estado                                       LUQUILLO, PR 00773                     Puerto Rico
                                          Libre Asociado de Puerto
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
90 ROMERO MENDEZ,              06/21/18   17 BK 03566-LTS / Sistema     83288              $ 300,000.00 ROMERO MENDEZ,              06/21/18   17 BK 03283-LTS / El          98541              $ 300,000.00
   MARANGELI                              de Retiro de los Empleados                                    MARANGELI                              Estado Libre Asociado de
   203 CALLE WESER                        del Gobierno del Estado                                       URB BRISAS DEL PRADO                   Puerto Rico
   JUNCOS, PR 00777                       Libre Asociado de Puerto                                      203 CALLE WESER
                                          Rico                                                          JUNCOS, PR 00777-9406

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
91 ROSA MALDONADO,             05/21/18   17 BK 03566-LTS / Sistema     29272            Indeterminado* MALDONADO, MYRIAM           05/21/18   17 BK 03283-LTS / El          27241            Indeterminado*
   MYRIAM                                 de Retiro de los Empleados                                    ROSA                                   Estado Libre Asociado de
   LOMAS DE CAROLINA                      del Gobierno del Estado                                       UU9 CALLE YUNG                         Puerto Rico
   YUNQUESITO UU9                         Libre Asociado de Puerto                                      VISITA HONDA
   CAROLINA, PR 00987                     Rico                                                          CAROLINA, PR 00987

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
92 ROSA ROSARIO,               06/06/18   17 BK 03566-LTS / Sistema     64983            Indeterminado* ROSA ROSARIO,               06/06/18   17 BK 03283-LTS / El          69290            Indeterminado*
   MANUEL                                 de Retiro de los Empleados                                    MANUEL                                 Estado Libre Asociado de
   PO BOX 1530                            del Gobierno del Estado                                       PO BOX 1530                            Puerto Rico
   RIO GRANDE, PR 00745                   Libre Asociado de Puerto                                      RIO GRANDE, PR 00745
                                          Rico
   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 21 de 26
                                   Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                                    Anexo A: Reclamos a ser desestimados
                             RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                             FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                             PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
          NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
93 ROSARIO ROSARIO,            06/29/18   17 BK 03566-LTS / Sistema     147764             $ 18,000.00* ROSARIO ROSARIO,            06/29/18   17 BK 03283-LTS / El         145627^             $ 18,000.00*
   SONIA                                  de Retiro de los Empleados                                    SONIA                                  Estado Libre Asociado de
   URB METROPOLIS                         del Gobierno del Estado                                       URB METROPOLIS                         Puerto Rico
   S21 CALLE 27                           Libre Asociado de Puerto                                      S21 CALLE 27
   CAROLINA, PR 00987                     Rico                                                          CAROLINA, PR 00987-
                                                                                                        7459

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
   ^ Reclamo n°. 145627 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
94 RUIZ MORALES , MARIA        06/05/18   17 BK 03566-LTS / Sistema     103871            $ 250,000.00* RUIZ MORALES, MARIA         07/06/18   17 BK 03283-LTS / El          147169            $ 250,000.00*
   T.                                     de Retiro de los Empleados                                    T.                                     Estado Libre Asociado de
   RUIZ MORALES, MARIA                    del Gobierno del Estado                                       SECTOR PABON                           Puerto Rico
   T.                                     Libre Asociado de Puerto                                      93 CALLE PEDRO PABON
   SECTOR PABON 93                        Rico                                                          MOROVIS, PR 00687
   CALLE PEDRO PABON
   MOROVIS, PR 00687

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
95 RZADKOWSKI,                 05/21/18   17 BK 03566-LTS / Sistema     26703            Indeterminado* RZADKOWSKI                  05/21/18   17 BK 03283-LTS / El          26788            Indeterminado*
   RICHARD                                de Retiro de los Empleados                                    CHEVERE, RICHARD                       Estado Libre Asociado de
   QUINTAS DE CUPEY                       del Gobierno del Estado                                       A-5 CALLE 14                           Puerto Rico
   A-5 CALLE 14                           Libre Asociado de Puerto                                      QUINTAS DE CUPEY
   SAN JUAN, PR 00926                     Rico                                                          SAN JUAN, PR 00926

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
96 SANCHEZ MARTINEZ,           05/18/18   17 BK 03566-LTS / Sistema     31033            Indeterminado* SANCHEZ MARTINEZ,           05/18/18   17 BK 03283-LTS / El          28700            Indeterminado*
   MADELINE                               de Retiro de los Empleados                                    MADELINE                               Estado Libre Asociado de
   500 BLVD DE RIO                        del Gobierno del Estado                                       500 BLVD DEL RIO APT                   Puerto Rico
   APT 3503                               Libre Asociado de Puerto                                      3503
   HUMACAO, PR 00791-                     Rico                                                          HUMACAO, PR 00791-
   4503                                                                                                 4503

   Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
   hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




             * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 22 de 26
                                    Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                              Tricentésima Cuadragésima Primera Objeción Global
                                                                     Anexo A: Reclamos a ser desestimados
                              RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                              PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
97 SANCHEZ SANCHEZ,             05/30/18   17 BK 03566-LTS / Sistema     42874            Indeterminado* SANCHEZ SANCHEZ ,           05/30/18   17 BK 03283-LTS / El          41935            Indeterminado*
   AIDA I                                  de Retiro de los Empleados                                    AIDA I                                 Estado Libre Asociado de
   PO BOX 1298                             del Gobierno del Estado                                       P.O.BOX 1298                           Puerto Rico
   YABUCOA, PR 00767                       Libre Asociado de Puerto                                      YABUCOA, PR 00767
                                           Rico
    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
98 SANDOVAL                     04/16/18   17 BK 03566-LTS / Sistema      7416            Indeterminado* SANDOVAL                    04/16/18   17 BK 03283-LTS / El           7440            Indeterminado*
   CARRASQUILL, EDWIN                      de Retiro de los Empleados                                    CARRASQUILL, EDWIN                     Estado Libre Asociado de
   URB ALTS DE RIO                         del Gobierno del Estado                                       ALTURAS DE RIO                         Puerto Rico
   GRANDE                                  Libre Asociado de Puerto                                      GRANDE Y 1351 C/ 25
   Y1351 CALLE 25                          Rico                                                          RIO GRANDE, PR 00745
   ALTURAS
   RIO GRANDE, PR 00745

    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
99 SANTANA FELICIANO,           05/29/18   17 BK 03566-LTS / Sistema     38953              $ 14,000.00* SANTANA FELICIANO,          05/29/18   17 BK 03283-LTS / El          38993^             $ 14,000.00*
   IRIS                                    de Retiro de los Empleados                                    IRIS E.                                Estado Libre Asociado de
   ALT DE RIO GRANDE                       del Gobierno del Estado                                       ALTURAS DE RIO                         Puerto Rico
   J 438 CALLE 9                           Libre Asociado de Puerto                                      GRANDE
   RIO GRANDE, PR 00745                    Rico                                                          CALLE 9 J-438
                                                                                                         RIO GRANDE, PR 00745

    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
    ^ Reclamo n°. 38993 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
100 SANTOS CATALA,              05/24/18   17 BK 03566-LTS / Sistema     32848            Indeterminado* SANTOS CATALA,              05/24/18   17 BK 03283-LTS / El          33098            Indeterminado*
    OMAR                                   de Retiro de los Empleados                                    OMAR                                   Estado Libre Asociado de
    RR#6 BOX 9674                          del Gobierno del Estado                                       RR#6 BOX 9674                          Puerto Rico
    CAIMITO BAJO                           Libre Asociado de Puerto                                      CAIMITO BAJO
    SAN JUAN, PR 00926                     Rico                                                          SAN JUAN, PR 00926

    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 23 de 26
                                    Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                              Tricentésima Cuadragésima Primera Objeción Global
                                                                     Anexo A: Reclamos a ser desestimados
                              RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                              PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
101 TORRES APONTE , IRIS        05/25/18   17 BK 03566-LTS / Sistema     21503            Indeterminado* TORRES APONTE, IRIS N       05/25/18   17 BK 03283-LTS / El          20144^           Indeterminado*
    N.                                     de Retiro de los Empleados                                    PO BOX 9989                            Estado Libre Asociado de
    PO BOX 9989                            del Gobierno del Estado                                       SAN JUAN, PR 00908                     Puerto Rico
    SAN JUAN, PR 00908                     Libre Asociado de Puerto
                                           Rico
    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
    ^ Reclamo n°. 20144 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
102 TORRES PELUYERA,            05/22/18   17 BK 03566-LTS / Sistema     14061            Indeterminado* TORRES PELUYERA,            05/22/18   17 BK 03283-LTS / El          13849^           Indeterminado*
    MARANGELY                              de Retiro de los Empleados                                    MARANGELY                              Estado Libre Asociado de
    HC 4 BOX 58377                         del Gobierno del Estado                                       HC 4 BOX 58377                         Puerto Rico
    GUAYNABO, PR 00971                     Libre Asociado de Puerto                                      GUAYNABO, PR 00971
                                           Rico
    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
    ^ Reclamo n°. 13849 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
103 TORRES QUILES, MARIA        06/25/18   17 BK 03566-LTS / Sistema     88138            Indeterminado* TORRES QUILES, MARIA        06/25/18   17 BK 03283-LTS / El          89569            Indeterminado*
    JOSEFA                                 de Retiro de los Empleados                                    JOSEFA                                 Estado Libre Asociado de
    PO BOX 3273                            del Gobierno del Estado                                       PO BOX 3273                            Puerto Rico
    BAYAMON, PR 00958                      Libre Asociado de Puerto                                      BAYAMON, PR 00958
                                           Rico
    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
104 TORRES RIVERA, PEDRO        05/29/18   17 BK 03566-LTS / Sistema     40047            Indeterminado* TORRES RIVERA, PEDRO        05/29/18   17 BK 03283-LTS / El          32242            Indeterminado*
    J                                      de Retiro de los Empleados                                    J                                      Estado Libre Asociado de
    URB EL COMANDANTE                      del Gobierno del Estado                                       913 C/ANTONIO DE LOS                   Puerto Rico
    913 CANTONIO DE LOS                    Libre Asociado de Puerto                                      REYES
    REYES                                  Rico                                                          SAN JUAN, PR 00924
    SAN JUAN, PR 00924

    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 24 de 26
                                    Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                              Tricentésima Cuadragésima Primera Objeción Global
                                                                     Anexo A: Reclamos a ser desestimados
                              RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                              PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
105 TORRES TORRES, RAUL         05/11/18   17 BK 03566-LTS / Sistema     14454            Indeterminado* TORRES TORRES, RAUL         05/11/18   17 BK 03283-LTS / El          14430            Indeterminado*
    VILLA DEL REY 1RA                      de Retiro de los Empleados                                    VILLA DEL REY 1                        Estado Libre Asociado de
    SECC.                                  del Gobierno del Estado                                       G18 CALLE EDINBURGO                    Puerto Rico
    G 18 CALLE EDINBURGO                   Libre Asociado de Puerto                                      CAGUAS, PR 00725-6203
    CAGUAS, PR 00725                       Rico

    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
106 VEGA DE LA CRUZ,            07/05/18   17 BK 03566-LTS / Sistema     156432           Indeterminado* VEGA DE LA CRUZ,            07/05/18   17 BK 03283-LTS / El          155140           Indeterminado*
    MARGARITA                              de Retiro de los Empleados                                    MARGARITA                              Estado Libre Asociado de
    PO BOX 307                             del Gobierno del Estado                                       PO BOX 307                             Puerto Rico
    ENSENADA, PR 00647                     Libre Asociado de Puerto                                      ENSENADA, PR 00647
                                           Rico
    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
107 VELAZQUEZ CANDELA,          05/11/18   17 BK 03566-LTS / Sistema     20728            Indeterminado* VELAZQUEZ                   05/11/18   17 BK 03283-LTS / El          22413            Indeterminado*
    MADELINE                               de Retiro de los Empleados                                    CANDELARIO,                            Estado Libre Asociado de
    P.O. BOX 10007                         del Gobierno del Estado                                       MADELINE                               Puerto Rico
    SUITE 188                              Libre Asociado de Puerto                                      PO BOX 10007 STE 188
    GUAYAMA, PR 00785                      Rico                                                          GUAYAMA, PR 00785

    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
108 VELEZ GONZALEZ,             05/24/18   17 BK 03566-LTS / Sistema     15953            Indeterminado* VELEZ GONZALEZ,             05/24/18   17 BK 03283-LTS / El          16605^           Indeterminado*
    JAVIER                                 de Retiro de los Empleados                                    JAVIER                                 Estado Libre Asociado de
    PO BOX 13871                           del Gobierno del Estado                                       PO BOX 13871                           Puerto Rico
    SAN JUAN, PR 00908-3871                Libre Asociado de Puerto                                      SAN JUAN, PR 00908-3871
                                           Rico
    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
    ^ Reclamo n°. 16605 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
109 VELEZ IRIZARRY,             06/29/18   17 BK 03566-LTS / Sistema     155054              $ 6,000.00* VELEZ IRIZARRY,             06/29/18   17 BK 03283-LTS / El          100546              $ 6,000.00*
    MYRIAM I.                              de Retiro de los Empleados                                    MYRIAM IVETTE                          Estado Libre Asociado de
    E-7 CALLE 5                            del Gobierno del Estado                                       E-7 CALLE 5 JARDINES                   Puerto Rico
    JARDINES ANASCO                        Libre Asociado de Puerto                                      DE ANASCO
    ANASCO, PR 00610                       Rico                                                          ANASCO, PR 00610

    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 25 de 26
                                    Case:17-03283-LTS Doc#:17105-2 Filed:06/18/21 Entered:06/18/21 18:59:34                                                 Desc:
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                                                              Tricentésima Cuadragésima Primera Objeción Global
                                                                     Anexo A: Reclamos a ser desestimados
                              RECLAMACIONES A SER DESESTIMADAS                                                                            RECLAMACIÓN REMANENTE

                              FECHA DE                                   N.º DE                                                    FECHA DE                                   N.º DE
                              PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA                                     PRESENTA          NÚMERO DE               RECLAM     MONTO DE LA
           NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN                  NOMBRE               CIÓN           CASO/DEUDOR               ACIÓN     RECLAMACIÓN
110 VIZCARRONDO                 05/29/18   17 BK 03566-LTS / Sistema     41023              $ 28,754.25* VIZCARRONDO, NITZA          05/29/18   17 BK 03283-LTS / El          41069^             $ 28,754.25*
    FERNANDEZ, NITZA                       de Retiro de los Empleados                                    CALLE 33 BLOQUE 2A #2                  Estado Libre Asociado de
    URB METROPOLIS                         del Gobierno del Estado                                       URB. METROPOLIS                        Puerto Rico
    2A2 CALLE 33                           Libre Asociado de Puerto                                      CAROLINA, PR 00987
    CAROLINA, PR 00987-                    Rico
    7429

    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
    ^ Reclamo n°. 41069 también incluido en el Anexo A a la Objeción Global n° 345 por reclamos clasificados erróneamente
111 ZAYAS MEDINA, JAIME         05/29/18   17 BK 03566-LTS / Sistema     40722            Indeterminado* ZAYAS, JAIME                05/29/18   17 BK 03283-LTS / El          45339^           Indeterminado*
    G                                      de Retiro de los Empleados                                    PLAYA 46 CALLE                         Estado Libre Asociado de
    PLAYA                                  del Gobierno del Estado                                       RAMON R VELEZ SECT                     Puerto Rico
    46 CRAMON R VELEZ                      Libre Asociado de Puerto                                      PLAYITA
    PONCE, PR 00716                        Rico                                                          PONCE, PR 00731

    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
    ^ Reclamo n°. 45339 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados
112 ZAYAS RIVERA, ADRIA         06/08/18   17 BK 03566-LTS / Sistema     78725               $ 47,886.54 ZAYAS RIVERA, ADRIA         06/08/18   17 BK 03283-LTS / El          83540^              $ 47,886.54
    Y.                                     de Retiro de los Empleados                                    Y                                      Estado Libre Asociado de
    HC-3                                   del Gobierno del Estado                                       HC-3 BOX 20024                         Puerto Rico
    BOX 20024                              Libre Asociado de Puerto                                      LAJAS, PR 00667
    LAJAS, PR 00667                        Rico

    Base para: Reclamo de una obligación duplicada interpuesto contra el Sistema de Retiro de Empleados del Gobierno del Estado Libre Asociado de Puerto Rico. Todas las responsabilidades invocadas, si las
    hubiere, tendrían lugar entre el Reclamante y el Estado Libre Asociado de Puerto Rico.
    ^ Reclamo n°. 83540 también incluido en el Anexo A a la Objeción Global n° 351 por reclamos parcialmente duplicados




              * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                    Página 26 de 26
